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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

BREAKWATER TREATMENT AND
WELLNESS CORP,

Plaintiff, Civil Action No. 23-3661 (MAS) (JBD)

v. ORDER
THE CITY OF ASBURY PARK, er al.,

Defendants.

This matter comes before the Court on two separate motions to dismiss Plaintiff
Breakwater Treatment and Wellness Corporation’s (“Plaintiff”) Complaint (ECF No. 1.) The first
motion is by Defendants Christopher Avallone, Wendi Glassman, Daniel Harris, Russell Lewis,
Jill Potter, John Scully, and the Asbury Park Zoning Board of Adjustment (ECF No. 15) and the
second is by Defendants Michele Alonso, John Moor, and the City of Asbury Park (ECF No. 17)
(collectively, “Defendants”). Plaintiff opposed (ECF No. 21), and Defendants replied, respectively
(ECF Nos. 26, 27). For the reasons outlined in the Court’s Memorandum Opinion,

IT IS on this 10% day of April 2024, ORDERED that:
1. Defendants’ motions to dismiss (ECF Nos. 15, 17) are GRANTED.
2. Plaintiff's due process claim under the Fifth Amendment is DISMISSED WITH

PREJUDICE.

3. Plaintiff's substantive due process and equal protection claims under the Fourteenth

Amendment are DISMISSED WITHOUT PREJUDICE.

4, Plaintiffs § 1985 claim is DISMISSED WITHOUT PREJUDICE.
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5. Plaintiff is granted 30 days from the filing of this Order on the docket to file an Amended

Complaint.

Lhd hpi)
MICHAEL A. Sipe
UNITED STATES DISTRICT JUDGE

